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                                        UNITED STATES DISTRICT COURT
                                            Northern District of Illinois
                                            219 South Dearborn Street
                                              Chicago, Illinois 60604

Thomas G. Bruton                                                                                     312-435-5670
Clerk                                       Date: 10/4/2017

Trina L. Carpenter & Family
9320 South Perry Ave
Chicago, IL 60620



Re: Carpenter & Family v. City Of Chicago et al
USDC Case Number: 1:17-cv-02667
Judge: Gary Feinerman

The attached copy of the Notice of Appeal is being mailed to all parties pursuant to F.R.A.P.3 (d).

Circuit Rule 10 provides that the entire record except for certain miscellaneous procedural
documents be forwarded to the Court of Appeals. If any of the automatically excluded items need
to be included in the record, counsel has until 10/17/2017 to inform the Clerk of the District
Court; specifying in writing which are so required and the date of their filing (i.e. descriptive list).

Counsel must ensure that Trial Exhibits to be included in the record which are not listed on the
District Court docket and/or in the possession of the District Court Clerk are furnished to the Clerk
on or before 10/17/2017, together with an exhibit list.

F.R.A.P. 10 (b) requires that within fourteen (14) days of the filing of the Notice of Appeal, the
appellant order a transcript of such parts of the proceedings not already on file which he/she deems
necessary for the record. Should appellant order less than the entire transcript, he/she is required
to file and serve on appellee a description of the parts he/she intends to order. Under such
circumstances, appellee has fourteen (14) days after service within which to order any additional
parts of the transcript. Counsel in criminal cases should also be familiar with Circuit Rule 11(a)
and 11(b).

In the event it becomes necessary to supplement the record on appeal with documents already on
file with the Clerk, a court order will be required prior to any supplement being transmitted.

                                                      Sincerely yours,

                                                      Thomas G. Bruton, Clerk

                                                      By: /s/ Esperanza King
                                                         Deputy Clerk
Items included: all briefs and memoranda.
Items not included: notice of filing, notice of motion, subpoenas, summons, bonds, status hearings, extensions of time,
affidavits of service, notices of setting, deposition and notices, and jury list.

Rev. 10/04/2016
